                           Case 5:21-cv-00844-XR Document
                                              AFFIDAVIT OF23 Filed 09/14/21 Page 1 of 1
                                                          SERVICE

                                              UNITED STATES DISTRICT COURT
                                                  Western District of Texas

Case Number: 5:21-CV-00844-FB

Plaintiff:
LA UNION DEL PUEBLO ENTERO, ET AL.
vs.
Defendant:
GREGORY W. ABBOTT, ET AL.

For:
Nina Perales - NEW
MALDEF
110 Broadway
Ste 300
San Antonio, TX 78205

Received by Kim Tindall & Associates on the 10th day of September, 2021 at 12:50 pm to be served on Warren K. Paxton,
Office of the Attorney General, 300 W. 15th Street, Austin, Travis County, TX 78701.

I, Kelly Murski, being duly sworn, depose and say that on the 13th day of September, 2021 at 3:55 pm, 1:

INDIVIDUALLY/PERSONALLY delivered a true and correct copy of the Summons in a Civil Action, Complaint for Declaratory
and Injunctive Relief with the date of delivery endorsed thereon by me, to Jordan Eskew, Office of the Attorney General
Authorized to Accept at the address of 209 W. 14th Street, Austin, Travis County, TX 78701 and informed said person of the
contents therein.


I certify that I am over the age of 18, have no interest in the above action, and am a certified process server, in good standing, in the
judicial circuit in which the foregoing occurred. The facts in this affidavit are within my personal knowledge and true and correct




                                                                                                            Kelly l\Wski
Subscrila^d and sworn to before me on the ^ -                                                               PSC-5912 EXf^. 1i0/31/2022
day of/TN6^                      I by the affiant
wh(^ pecs*        nown to me.
                                                                                                            Date

NOtAR’Y PUBLIC                                                                                             Kim Tindall & Associates
                                                                                                           16414 San Pedro
                                                                                                           Ste. 900
                   NICOLE M. WADE
  I    A   ●;                                                                                              San Antonio, TX 78232
                My Notary ID ^ 1290&6987
                                   2024                                                                    (210) 697-3400
           ●V    Expires August 9,
                                                                                                            Our Job Serial Number: KTA-2021002145


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